AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                      DistrictDistrict
                                                 __________    of Columbia
                                                                       of __________

                  United States of America                         )
                             v.                                    )
                      Albert A. Ciarpelli
                                                                   )      Case No.
                                                                   )
                                                                   )
                                                                   )
                                                                   )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   January 6, 2021              in the county of                                     in the
                       District of           Columbia          , the defendant(s) violated:

            Code Section                                                     Offense Description
18 U.S.C. 1752(a)(1)                            Knowingly Entering or Remaining in any Restricted Building or Grounds
                                                Without Lawful Authority

40 U.S.C. 5104(e)(2)                            Violent Entry and Disorderly Conduct on Capitol Grounds




         This criminal complaint is based on these facts:
See attached statement of facts.




         ✔ Continued on the attached sheet.
         u


                                                                                              Complainant’s signature

                                                                                     Special Agent Cameron Mizell, FBI
                                                                                               Printed name and title

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7HOHSKRQH VSHFLI\UHOLDEOHHOHFWURQLFPHDQV 
                                                                                                         Robin M. Meriweather
                                                                                                         2021.01.12 17:16:35 -05'00'
Date: January 12, 2021
                                                                                                    Judge’s signature

City and state:                         Washington, D.C.                         Robin M. Meriweather, U.S. Magistrate Judge
                                                                                               Printed name and title
